Case 2:20-cv-12734-MAG-EAS ECF No. 162-2, PageID.7998 Filed 10/10/23 Page 1 of 2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-2, PageID.7999 Filed 10/10/23 Page 2 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 JUSTIN GUY,
                                                                  Case No.: 20-cv-12734
                Plaintiff,
                                                                  Hon. Mark A. Goldsmith
 v.

 ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                    /

                               DECLARATION OF CHARLES PERRY

        I, CHARLES PERRY, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.      I make this Declaration upon personal knowledge and state that the information

 specified below is true to the best of my knowledge and, if sworn as a witness, I would be

 competent to testify to the same.

        2.      I worked as a Truck Driver for ABSOPURE WATER COMPANY (“Defendant”)

 from approximately July 2016 through October 2018.

        3.      Throughout my employment, I drove exclusively within the state of Michigan, with

 the exception of one workday where I was helping fill in for someone who was out, and I drove

 out of state for that one workday.

        4.      During my employment, I drove Absopure sprinter vans which I understand weigh

 less than 10,001 pounds on a few occasions when I was a flex driver.



        Jul 20, 2023
 Dated: ____________                                Charles Perry (Jul 20, 2023 10:32 EDT)

                                                                  CHARLES PERRY
